     Case 3:22-cv-00970-X Document 51 Filed 08/28/23                Page 1 of 3 PageID 1368



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 ZT IP, LLC                                       §
   Plaintiff,                                     §
                                                  §
 v.                                               §                  Civil Action No. 3:22-cv-00970
                                                  §
 VMWARE, INC.,                                    §
   Defendant.                                     §                    JURY TRIAL DEMANDED

        PLAINTIFF’S AGREED MOTION TO SET BRIEFING SCHEDULE FOR
     DEFENDANT’S MOTION TO AMEND THE JUDGMENT AND MOTION TO JOIN
                               PARTIES

        COMES NOW Plaintiff ZT IP, LLC (“ZT”), with the agreement of Defendant VMware,

Inc., moving the Court to set a briefing schedule to respond to Defendant’s Motion to Amend the

Judgment (ECF No. 46) and Motion to Join Parties (ECF No. 45) (the “Motions”), as detailed

below, which will extend the deadlines from those established by L.R. 7.1 of the Local Rules of

the Northern District of Texas to respond and to reply for the parties by three weeks and two weeks,

respectively.

                   BACKGROUND, AUTHORITIES, AND ARGUMENT

1.      On February 6, 2023, this Court issued a Memorandum Opinion and Order granting

Defendant’s Motion for Attorney Fees and denying its Motion for Sanctions. ECF No. 43. The

Court’s Order resolved the case and constituted a final judgment.

2.      On August 11, 2023, Defendant filed its Motions seeking to apply its judgment against ZT

to two sets of alleged additional responsible parties, including: a) the owners of ZT, comprising

Pueblo Nuevo LLC, Entente IP, Dynamic IP Deals LLC, David Ghorbanpoor, Carlos

Gorrichategui; and b) the legal representatives of ZT, comprising William Ramey and Ramey LLP.




3:22-cv-00970: ZT IP, LLC v. VMWARE, INC. – Agreed Motion                                Page 1 of 3
     Case 3:22-cv-00970-X Document 51 Filed 08/28/23                Page 2 of 3 PageID 1369



3.      Plaintiff’s newly acquired counsel, the undersigned, began his representation of Plaintiff

on May 5, 2023, to handle post-judgment discovery matters. However, this new development

comes on the edge of a planned vacation beginning September 1st and in the midst of planning for

two trials in later September. Plaintiff’s counsel needs time to both thoroughly plumb the depths

of this case and to prepare, coordinate, and draft a proper defense.

4.      Additionally, the legal representatives of ZT must determine separately how to respond, as

the undersigned should likely not represent the legal representatives due to the potential for

conflicting defenses.

5.      Finally, Defendant also requests an extension of time to file its reply to the responses, and

has requested an extra two weeks for replies.

6.      Proposed parties William Ramey and Ramey LLP do not oppose this motion. Proposed

parties Pueblo Nuevo LLC, Entente IP, Dynamic IP Deals LLC, David Ghorbanpoor, and Carlos

Gorrichategui have not yet appeared.

7.      Under Local Rule 7.1, a party must file a response to a motion within 21 days, and replies

are due 14 days after the response is filed. Those deadlines would be September 1st and September

15th, respectively, based on the motions’ filing date of August 11, 2023. The parties have agreed

that the deadlines should be extended to five weeks for the response to September 22nd and four

weeks for the reply to October 20th, which would allow the parties to properly argue their

positions.

8.      This motion is not made for the sake of delay but in the interest of judicial efficiency.




3:22-cv-00970: ZT IP, LLC v. VMWARE, INC. – Agreed Motion                                 Page 2 of 3
  Case 3:22-cv-00970-X Document 51 Filed 08/28/23                   Page 3 of 3 PageID 1370



                                             PRAYER

       WHEREFORE, Plaintiff respectfully request that the deadline to respond to the Motions

in the instant case be extended to September 22, 2023, and the Defendant’s deadline to file any

replies be extended to October 20, 2023.

       Plaintiff prays for all additional relief to which the Court may find appropriate.

               Respectfully submitted,

               ______________________________
               ZT IP LLC, Plaintiff

               By: /s/Warren V. Norred
               Warren V. Norred; State Bar No. 24045094; warren@norredlawcom
               Norred Law, PLLC; 515 E. Border; Arlington, TX 76010
               T: 817-704-3984; F: 817-524-6686
               ATTORNEY FOR PLAINTIFF



Certificate of Service – I certify that the foregoing was served on all parties in the instant case
via the Court’s ECF system on August 28, 2023.

                               /s/Warren V. Norred

Certificate of Conference – I certify that I conferred via email with Richard Hung,
rhung@mofo.com, counsel for Defendant VMWARE, INC., on August 24, 2023. He advised that
he agreed with the motion and relief sought as herein expressed.

                               /s/Warren V. Norred




3:22-cv-00970: ZT IP, LLC v. VMWARE, INC. – Agreed Motion                                   Page 3 of 3
